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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
             EASTERN DIVISION - Civil Action Number 4 :24-CV-00051 -M-RN


Cynthia B. Avens
  (Plaintiff)

Faris C. Dixon, Jr. , DistrictAttorney                  PLAINTIFF'S NOTIFICATION
Pitt County Memorial Hospital, Inc.                     TO THE COURT REGARDING
Dr. Karen Kelly, Medical Examiner                       PUBLICATION OF
John/Jane Doe, John/Jane Doe                            SETTLEMENT AGREEMENT
   (Defendants)                                         AND RELEASE DRAFT




                     NOTICE REGARDING PUBLIC DISCLOSURE



INTRODUCTION:

Plaintiff, Cynthia B. Avens ("Avens"), proceeding pro se, respectfully submits this

Notification Regarding Public Disclosure of the 2016 Settlement Agreement and

Release to the US District Court. The purpose of this notification is to clarify Avens's

reasoning behind this action and to maintain transparency in the current ongoing civil

rights litigation.



TIMELINE:

   •   March 22, 2024: Avens filed her civil rights action against the above-named

       defendants (DE 1).




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•   May 29, 2024: ECU Health filed a motion to dismiss Avens's complaint, claiming

    that the 2016 Settlement Agreement barred her current civil rights claims (DE 22,

    23).

•   June 18, 2024: Avens filed her amended complaint in which she addressed what

    she believes to be the fraudulent nature the agreement was signed (DE 33).

•   July 16, 2024: ECU Heath filed their motion to dismiss Avens's amended

    complaint. Again, they alleged that the Agreement barred Avens's current action

    (DE 49, 50).

•   August 5, 2024 (docketed on August 6, 2024): Avens filed her response to

    ECU Health's motion to dismiss, including a draft copy of the Agreement (DE 57,

    DE 57-1) to argue that ECU Health misrepresented its scope and strength.

•   August 9, 2024: Counsel for ECU Health sent Avens a letter via email instructing

    her to strike the Agreement from the public record.

•   August 22, 2024: Avens filed a motion requesting the Court to determine validity

    of the Agreement and its applicability to her current case (DE 62).

•   August 28, 2024: ECU Health filed a motion requesting that the draft Agreement

    be sealed.

•   October 23, 2024: The Court ordered ECU Health to file a memorandum

    addressing the public's right to access the Agreement.

•   November 12, 2024: ECU Health submitted its memorandum supporting its

    claim that the public does not have a right to access the Agreement.

•   November 19, 2024: Avens filed her response, outlining her reasons why the

    motion to seal should be denied.




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   •   January 2, 2025: Avens uploaded the Agreement to her cloud storage and

       included the link in a public blog post on her Fight Until You Win website

       (fightuntilyouwin.com).



REASON FOR PUBLIC DISCLOSURE:

The blog post was made to protect Avens's First Amendment right to freedom of

speech. She asserts that ECU Health fully exercised this right when they publicly

claimed, in their court filings, that the 2016 Settlement Agreement barred her current

civil rights claims. These claims were made despite deceptive representations about the

Agreement's scope and applicability. While ECU Health now asserts that confidentiality

remains intact, they also argue that Avens's submission of the Agreement into the public

record violated its terms.



Avens strongly disagrees, believing that confidentiality was waived when ECU Health

introduced the Agreement's scope and strength into the public record. As long as their

statements remain publicly accessible, Avens faces the ongoing risk of her reputation

and motives being unfairly tarnished. Conversely, if the motion to seal is granted, ECU

Health's reputation and motives could remain shielded from scrutiny, further obscuring

the true nature of the Agreement. This dynamic underscores the necessity of public

disclosure to maintain transparency and balance in this litigation.




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TRANSPARENCY:

Due to the ongoing civil rights action and the pending motion to seal the Agreement,

Avens seeks to remain transparent with the Court regarding her actions. The public

disclosure of the Agreement ensures Avens can protect and maintain her right to

release information on a public platform, just as ECU Health has done through the

court's public platform. Anything less would perpetuate the same civil rights violations

Avens has endured over the past decade, during which ECU Health has consistently

utilized government entities to shield its conduct.



RESPECTFUL ACKNOWLEDGMENT:

Avens wishes to express her utmost respect for the Court and the judicial process. She

acknowledges that the decision regarding the motion to seal the Agreement ultimately

rests with the Court. However, she feels compelled to highlight that, despite believing

the terms of the 2016 Agreement to be invalid, she has consistently acted in good faith

by respecting its purported confidentiality over the years.



At no point during this time did Avens attempt to disclose the Agreement publicly, even

when she believed its terms to be flawed . It was only after ECU Health's conduct in the

current case-specifically their misrepresentation of the Agreement's scope and

strength-that she felt compelled to make it public. This decision was driven by ECU

Health's repeated patterns of misconduct, which have consistently been concealed and

shielded from public scrutiny at Avens's expense.




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If the Court feels that Avens's actions were inappropriate or premature, she sincerely

and humbly apologizes for any perceived overreach.



ATTACHMENT:

Attached is a copy of the Fight Until You Win blog post titled "Fighting for My Rights

While Fighting for My Rights." This post serves to clarify the reasoning behind Avens's

public disclosure of the 2016 Settlement Agreement and Release, as outlined in this

notice. It is provided for the Court's reference and to maintain transparency in the

ongoing litigation.



Respectfully submitted,

January 2, 2025

/s/ Cynthia B. Avens
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Roanoke Rapids, NC 27870
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252-203-7107
Pro Se Litigant




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CERTIFICATE OF SERVICE

I hereby certify that on January 2, 2025, Plaintiff's Notice Regarding Public Disclosure

was shipped by UPS, tracking# 1Z9H79KT0319369247, to the Clerk of the U.S. District

Court in Greenville, NC, scheduled delivery for January 3, 2025. Upon docketing, the

CM/ECF system will send electronic notification of such filing to the defendants'

counsel. Respectfully submitted,



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Fighting for My Rights While Fighting for My Rights




LEGAL BATTLE
Hi, guys. I am still in the midst of my legal battle against ECU Health, DA Faris
Dixon, and ME Dr. Karen Kelly. As stated before, I have to be careful about what I
write here as I try to protect the integrity of my case. However, there is something I
need to publish about it.


In ECU Health's motion to dismiss my original complaint and my amended
complaint, they claimed that a 2016 wrongful death settlement agreement barred my
current civil rights action. They also made note that my amended complaint was
silent regarding the consideration received as part of the agreement. I countered
their statements by providing an unexecuted (draft) copy of the agreement as
evidence that the agreement had been misrepresented to the court. The draft was
submitted as an exhibit into the public record because I could not locate my signed
copy. (I know. Don't judge. I literally have thousands of pages of information. I
probably overlooked it. )




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Anyhoo, as a result, ECU Health's attorneys from K&L Gates proceeded to contact
me via email. They reminded me of the terms of confidentiality within the agreement
and instructed me to have the agreement stricken from the public record or face
financial consequences of violating the agreement according to the terms of the
agreement. They gave me 3 business days (5 including the weekend) to comply.


WHAT IS A STRIKE?


At first, I didn't even understand what 'strike' really meant. I knew the gist of it based
on courtroom dramas on TV, but I did not truly understand what they were seeking,
nor the ramifications thereof. I mean, I'm smart, but I'm not an attorney. I needed
some type of guidance, because my initial thought was that redacting the agreement
would suffice, but I was wrong. They were actually telling me to remove it entirely
from the public record . This required me to file a motion, and I had never done that
before. Talk about baffling. I had a lot to figure out and could not comply within a
painfully short deadline no matter how hard I might have tried.


What stood out about striking the document was that I would not be able to use the
document at all, and potentially, never again. What? Wait. .. That's not fair. Then I
learned that if I struck the document, the court wouldn't be able to use it either and
could decide to never review it at all.


But wait-didn't ECU Health's legal team make claims about the strength of the
agreement? I had to find out what my alternatives were.


FAST-FORWARD


I decided not to strike the agreement. Instead, I chose to file a motion asking the
 court to determine the validity of the agreement in the first place. I knew it had been
 signed without full disclosure, something I came to understand as possible




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fraudulent behavior. I also asked the court to determine the agreement's applicability
to my current case. My thinking was: Why should ECU Health be able to hold this
document against me when it suits them, especially under the threat of financial
penalty? In my opinion, they waived confidentiality by making such public claims
about its strength. Did they intend to use it at will while not expecting me to fight
back? Or reveal their deception?


To be fair, ECU Health did back away from their use of the agreement and
abandoned it altogether. However, one may wonder why they mentioned it in the first
place unless their goal was to mislead the court. And if that's the case, why attempt
to mislead the court except to try to have my case dismissed based on their false
allegations? Come on. Think about it. If the court were to dismiss my civil rights
case, based on ECU Health's claims that the 2016 agreement barred my current
claims, raise your hand if you believe ECU Health or their attorneys would proceed
to abandon use of the agreement after such a ruling .


MOTION TO SEAL


Moving on ... After I filed my motion, ECU Health decided to file a motion asking the
court to seal the document. Huh? What? Why? I was baffled again, because they
could have filed this weeks earlier instead of sending me threatening emails. As a
matter of fact, THEY could have filed the motion asking the court to strike the
document if confidentiality was the true driving factor behind the motion to seal. I
suppose that might have been a messy course of action. It's much simpler to
demand that I strike it while they sit back and agree rather than the other way
around, resulting in a higher level of scrutiny. But I digressed.


ECU Health maintained that the agreement was still to remain confidential based on
its terms. Does that make sense to you guys? I mean, how confidential can those
terms be when they brought the terms of the agreement into question? Right? To




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say on the public record that the terms bar the current action indicates that, if
necessary, they will provide the document on the public record themselves to
support their statements. Follow me? Yet, when I provided the document on the
public record myself, it's like, "Oh no, Mrs. Avens. You can't do that. You can't
publicly support your argument against us. You violated the confidentiality." Of
course they did not explicitly say those words. That's what their actions say to me,
though. It sounds like, "We're gonna try to use it against you, but we dare you to use
·t1 agains
       • t us." . . . H uh?.


This all occurred last summer. It is now January 2025, and I am still waiting for the
court to decide on that same motion they filed. I am not really waiting for the court to
grant the motion I filed. I expect it to be denied due to procedural incorrectness. See,
when I filed my motion, apparently I did not have a procedurally correct basis for
doing so. In other words, I could not identify a federal rule allowing for the motion to
be filed . Their motion, on the other and, was filed procedurally correct. Don't ask me
to explain the difference here. Just know that under the circumstances, the court
may not rule favorably on my motion but is expected to grant or deny ECU Health's
motion to seal.


WHY THIS BLOG POST?


Why now? Well, I did not think to do this until yesterday as I pondered the events of
the case thus far. See, the agreement has two options ... mmm, much like any other
agreement. (A) The terms can be adhered to; or (8) the terms can be violated. If the
terms are adhered to everything is lovely. If they are not, there is a potential penalty.
In my case that penalty sings to the tune of $50,000.


But there is some gray area. What remedy do I have if ECU Health violates the
terms of confidentiality first? That's a good question. That was never discussed, so
apparently, nothing. Or at least, nothing I can think of-other than the fact that I, too,




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should have the same ability after the fact, since confidentiality would no longer be
considered binding. This is pretty much my argument at this time. They brought the
whole shebang into the public spotlight first. So, why are we wasting time arguing
about it now?


The reason I decided to make this blog post today is to protect my ability, my right
actually, to argue publicly. The statements about the agreement and its purported
strength were made publicly in ECU Health's motions to dismiss. They are now
fighting to seal the very document that can prove the agreement was
misrepresented to the court. Should the court grant their motion to seal, it is the
same as saying that I do not enjoy the same right to express myself publicly as ECU
Health enjoyed when they made their claims. This would not be fair. Freedom of
speech is a constitutional right given to all citizens of the United States;
confidentiality is not. It is in this light that I must protect my freedom of speech. Isn't
that ironic? I have to fight to protect my civil rights in the midst of a civil rights case.


HOW IT HARMS ME - potentially


Here's the thing. With their claims in the public record , anyone who should read the
record could automatically conclude that I filed a frivolous civil rights lawsuit and the
end. That might be all they need to see to draw a conclusion and believe whatever
negative connotation they see fit. You know what that does? It potentially paints me
as the "grieving mother" who has no case and who refuses to let go while still
seeking to blame someone more than ten years after her daughter's death. It
potentially paints me as someone trying to facilitate an illicit money-grab without
legal justification. I could be viewed as someone who is just looking for attention or
as someone who has no legitimate cause to fight for justice for the death of her
daughter. Why? Because ECU Health and their counsel could be successful in
making sure that my side of the story, along with supporting evidence, is skewed in
their favor via sealed documentation.




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For this reason , the draft of the 2016 settlement agreement and release can be
seen t re . Read it for yourselves. You decide if there is any wording within that
prevents any action other than claims extending from Keisha White's wrongful
death. I will provide other links to other case information so you can better
understand the scope of what this case is about. Additionally, some documents may
be free online if you Google the case NC US District Court case number: 4:24-cv-
00051-M-RN. Thanks for your time.


Links:
   1. 2016 Settlement Agreement and Release - Draft Copy
   2. Amended Complaint Filed in US District Court
   3. :CU Health's Motion to Dismiss Memo
   4. Response to ECU Health's Motion to Dismiss Amended Complaint
   5. :CU Health's Motion to Seal Memo
   6. Response to ECU Health's Motion to Seal
   7. ECU Health's Ordered Memo Supporting Motion to Seal
   8. Response to ECU Health's Ordered Memo Supporting Motion to Seal




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